Case: 1:17-md-02804-DAP Doc #: 2251-83 Filed: 08/13/19 1 of 2. PageID #: 351920




                    EXHIBIT 83
           Case: 1:17-md-02804-DAP Doc #: 2251-83 Filed: 08/13/19 2 of 2. PageID #: 351921




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                                                                                                                                                     Assistant P,·ofossor. Anesthesiology end Critical Care.
                                                                                                                                                     Johns Hopkins University School of IVE1dicine;
                FRIDAY1 SEPTEMBER SJ 2014                                                                                                            Host, Aches and Gains , Sirius XM Radio


                8:10 A.M. TO 9:10 A.M.
                                                                                                                                                     PENNEY COWAN
                BREAKFAST WILL BE SERVED                                                                                                             Fo.inder and Executive Director.
                                                                                                                                                     American Chronic Pain Association

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                "'-Iii h   ino ivic:f 1J8;$ feac1 H E--C; ;!'I ·, h~ ~i;rtl.                                                                         DEREK MCGINNIS
                                                                                                                                                     U.S. Navy veteran who sustained debilitatinq                  niunes
                                                                                                                                                     while in Iraq: from Discovery Bay. Calif.



                                                                                                                                                     MELANIE ROSENBLATT, MD
                                                                                                                                                     Medical Director of Pain Management.
                                                                                                                                                     North Broward Medical Center. Boca Raton. Fla.



                                                                                                                                                     BOB TWILLMAN, PhD, FAPM
                                                                                                                                                     Director of Policy and Advocacy,
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